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                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

BUREAU OF CONSUMER
FINANCIAL PROTECTION,

      Petitioner-Appellee,
                                                         Case No. 7:20-cv-03240-KMK
      v.
                                                            NOTICE OF APPEAL
 LAW OFFICES OF CRYSTAL
 MORONEY, P.C.,

      Respondent-Appellant.



       Notice is hereby given that Respondent Law Offices of Crystal Moroney, P.C. appeals to

the United States Court of Appeals for the Second Circuit from this Court’s Order granting

Petitioner’s Petition to Enforce the Civil Investigative Demand, entered August 19, 2020 (ECF

No. 29).

                                               Respectfully submitted,




 Dated: October 7, 2020                        Michael P. DeGrandis, pro hac vice
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                                               Law Offices of Crystal Moroney, P.C.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 7, 2020, the foregoing was filed electronically with the

Clerk of Court to be served by operation of the Court’s CM/ECF system upon all counsel of

record in the above-captioned case. A courtesy copy will also be e-mailed to the Petitioner-

Appellee.




                                                    Michael P. DeGrandis




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